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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

TODD TARGGART, individually and on              §
behalf of all others similarly situated,        §
                                                §
          Plaintiff,                            §
                                                §
v.                                              §          Case No. 4:24-cv-00767-P
                                                §
NEXT BRIDGE HYDROCARBONS, INC.,                 §
et al.,                                         §
                                                §
          Defendants.                           §



              BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS



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                                        INTRODUCTION

        Apparently unhappy with the performance of Next Bridge Hydrocarbons, Inc., Plaintiffs

have concocted a Securities Act claim that is inconsistent with the facts, the law, and common

sense. Plaintiffs’ primary complaint is that dollar figures attributable to oil and gas properties on

Next Bridge’s balance sheets in offering documents were not a true reflection of the properties’

“value” or “worth.” But Plaintiffs were told that the figures were derived from costs, and Plaintiffs

do not allege that they did not accurately reflect the costs associated with those properties.

Plaintiffs note that Next Bridge subsequently wrote down the assets on its balance sheets—though

not the balance sheets published in the offering documents. But it is well-settled that changes in

accounting judgment do not make earlier judgments incorrect. And the impairment resulted from

a potential mineral lease expiration—a risk that Next Bridge had warned investors about repeatedly

in the offering documents. In any event, asset valuations are classic opinion statements, which are

actionable as misstatements only in very limited circumstances that Plaintiffs have not alleged

here.

        Plaintiffs tack on to their claim two other alleged misstatements, but neither has legs. First,

Plaintiffs complain that the offering documents misstated the capabilities of the Audit Committee

because the balance sheets were erroneous. Putting aside that the balance sheets were not, in fact,

erroneous, the allegedly misdescribed Audit Committee did not even exist at the time the balance

sheets were prepared or published. Second, Plaintiffs assert that Next Bridge should have

disclosed additional details about a related-party transaction. A plain reading of the governing

regulation, however, shows that Next Bridge had no obligation to disclose the transaction at all,

let alone further details about it.

        But Plaintiffs do not even have standing to set foot in the courthouse because they have no

compensable injury. Section 11 of the Securities Act caps Plaintiffs’ damages at Next Bridge’s



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offering price and permits recovery for only a specific injury: the difference between the amount

Plaintiffs paid and the value of Next Bridge stock when Plaintiffs filed suit. The offering price

was $0—so Plaintiffs did not pay anything for their Next Bridge stock—meaning their maximum

damages are $0 and they can show no possible diminution in value. To the extent Plaintiffs say

they “paid” for their Next Bridge stock by losing their shares in Next Bridge’s former parent, Meta

Materials, Inc., Plaintiffs only gave up the right to profit from a specific set of oil and gas

properties, with the Next Bridge stock they received giving them the right to profit from the same

set of oil and gas properties. There is no difference, so they have no cognizable injury under

Section 11. Section 12, meanwhile, requires Plaintiffs to have sold or tendered their Next Bridge

shares before they can recover any damages, and Plaintiffs do not plead that they have taken either

action. So they likewise have no cognizable injury under Section 12. Plaintiffs’ Section 11 claim

against three of the individual Defendants likewise does not make it out of the gate because the

plain language of the statute does not make them proper defendants.

        Plaintiffs spill much ink describing Next Bridge’s corporate history and complaining about

various aspects of earlier transactions and public statements. They insert color pictures of various

tweets and maps that are not relevant to, much less supportive of, their narrow claim based on

allegedly false or misleading statements in Next Bridge’s offering documents. Aspersions,

innuendo, and fancy graphics do not substitute for factual allegations that establish standing and

show a material misstatement in the offering documents. Plaintiffs’ complaint should be dismissed

in its entirety with prejudice.

                                  FACTUAL BACKGROUND

        This recitation of facts is taken from the Amended Complaint and Next Bridge’s SEC

filings so that the Court can consider “the full text of documents partially quoted in the complaint;

the contents of relevant disclosure documents required to be filed with the SEC; the contents of



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documents integral to the complaint; and documents actually filed with the SEC, even if they are

not mentioned in the complaint.” Truk Int’l Fund LP v. Wehlmann, 737 F. Supp. 2d 611, 616

(N.D. Tex. 2009) (McBryde, J.) (cleaned up).

           A.       The Defendants

           Next Bridge is an oil and gas development company headquartered in Fort Worth, Texas.

(AC ¶ 15.) It dates back to a company named Torchlight Energy Resources, Inc. (Id. ¶ 2).

Torchlight was an oil and gas company that merged with Meta Materials, Inc., in June 2021.

(Id. ¶ 3.) In connection with the merger, Torchlight shareholders received shares of non-voting

Meta preferred stock—not registered to be publicly traded—that “corresponded to the oil and gas

assets that historically belonged to Torchlight.” (Id.) Holders of the preferred shares were entitled

to receive proceeds from the sale of the Torchlight oil and gas assets or, if the sale was not

completed by a certain date, equity in a spin-off entity holding the assets. (Id.) Next Bridge is that

entity, which Meta spun off in December 2022. (Id. ¶ 5.) The Next Bridge shares were issued

pursuant to a Registration Statement & Prospectus filed on July 15, 2022 (Ex. A (collectively, the

“Registration Statement”)) and subsequently amended. (Id. ¶ 4.)1 The shares were distributed to

the holders of the Meta preferred stock on December 14, 2022. (Id. ¶ 35.)

           The individual Defendants include various Next Bridge current and former executives.

Robert Lance Cook was a Next Bridge director before the spin-off and signed the Registration

Statement. (AC ¶ 16.) Clifton Dubose, Jr., was employed by a Next Bridge subsidiary before the

spin-off and became Next Bridge’s Chief Executive Officer and Chairman of its Board of Directors

after the spin-off. (Id. ¶ 17.) Joseph DeWoody and Delvina Oelkers were also employed by a

Next Bridge subsidiary before the spin-off and subsequently served as Next Bridge officers after


1
    The Amended Complaint incorrectly stated the filing date as July 14, 2022. (AC ¶ 4.)




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the spin-off. (Id. ¶¶ 19–20.) Lucas T. Hawkins, Mia Pitts, and Kristin Whitley did not have

positions before the spin-off but became Next Bridge officers or directors after the spin-off.

(Id. ¶¶ 18, 21–22.) Plaintiffs have also named as a Defendant Gregory McCabe, though he held

no position at Next Bridge before or immediately after the spin-off, only becoming a Next Bridge

director in June 2023. (Id. ¶ 23; App. 423.)

        B.       The Registration Statement

        While it was still a Meta subsidiary, Next Bridge filed the Registration Statement and its

amendments. (AC ¶ 4.) Plaintiffs complain about statements on three different topics in the

Registration Statement. (Id. ¶ 6.)

                 1.       Oil and gas assets on the balance sheet

        Plaintiffs complain about a line item for “oil and natural gas properties” on Next Bridge’s

balance sheet as reported in the Registration Statement. (AC ¶¶ 6(a), 81.) The initial Registration

Statement included Next Bridge’s “Consolidated Balance Sheets” as of December 31, 2021, and

March 31, 2022. They include a line item for “Oil and natural gas properties,” with figures of

$45,663,470 and $46,747,755, respectively. (See App. 102.) A Final Prospectus was filed on

November 18, 2022. (Ex. B (Next Bridge Hydrocarbons, Inc., Amended Prospectus, filed

November 18, 2022) (App. 131-263).) The Final Prospectus gives the figure for “oil and natural

gas properties” as of September 30, 2022, as $47,293,607. (App. 237.)2 In both documents, the

notes to the financial statements explain that for the “oil and natural gas properties,” Next Bridge

uses the full-cost method of accounting. (See, e.g., App. 089; see also App. 187-88; App. 192.)

This means that the costs of “exploration and development activities are capitalized as properties

and equipment” for balance sheet purposes. (App. 188; App. 192.) The notes repeat these figures


2
  This figure is also provided in the November 9 amended registration statement. Interim amendments also contained
the balance sheet as of June 30, 2022, but Plaintiffs do not complain about those figures.




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in a separate table just for the oil and natural gas properties, describing the figures as “the

capitalized costs for oil & natural gas properties of the Company”:

                            Date               Oil and Natural Gas Properties

                December 31, 2021                         $45,663,470

                March 31, 2022                            $46,747,755

                September 30, 2022                        $47,293,607


(See App. 111; App. 248.)

               2.     Next Bridge’s Audit Committee

       Plaintiffs complain about the Registration Statement’s description of Next Bridge’s Audit

Committee. (AC ¶ 6(b).) The Registration Statement described what Next Bridge’s audit

committee would look like after the spin-off, naming the individuals who would join the committee

“upon their appointment to the Board.” (Id. ¶ 83.) The Registration Statement also explained that

the individuals were qualified to sit on the Audit Committee and what its functions would be. (See

id.)

               3.     The Option Agreement

       Plaintiffs allege a regulatory violation based on the Registration Statement’s alleged failure

to disclose a related-party transaction that Plaintiffs refer to as the “Option Agreement.”

(AC ¶ 6(c); ¶¶ 89–90.) But Plaintiffs concede that the Option Agreement was described in the

Registration Statement. (See id. ¶ 90.) And it was listed in the Final Prospectus under the heading

“Transactions with Stockholder Gregory McCabe” in the “Certain Relationships and Related Party

Transactions” section. (App. 206.)

       On August 13, 2020, two Next Bridge subsidiaries entered into the Option Agreement

(amended in September 2020) with Masterson Hazel Partners, LP (“MHP”) and McCabe




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Petroleum Company (“MPC”). (App. 095; App. 230; App. 249.) MHP’s general partner,

Masterson Hazel Management LLC, was jointly owned by McCabe Petroleum Corporation and

another entity. (AC ¶ 93.) The Option Agreement obligated MHP to drill and complete “at its

sole cost and expense” wells that would satisfy the continuous development obligations for the

“Hazel Project.” (AC ¶ 90.) In exchange, MHP had the option to purchase the entire Hazel Project.

(Id.) If MHP exercised the option to buy the Hazel Project, then MPC agreed to “reduce its

reversionary interest burdening Torchlight’s proportionate interest in the Hazel Project . . . from

20% to not more than 12.5%.” (Ex. C (Option Agreement, dated August 13, 2020) (App. 266).)

If MHP declined to exercise the option to buy the Hazel Project, then Next Bridge would be

obligated to reimburse MHP for its drilling costs to the extent that the wells that MHP drilled

produced revenues. (App. 019; App. 206–07.) The Final Prospectus disclosed the transaction as

a related-party transaction, explaining that MPC was owned by Mr. McCabe. (App. 206.)

Plaintiffs allege that Mr. McCabe also held an interest in MHP that was not disclosed. (AC ¶ 93.)

                4.      Cautionary Statement and Risk Factors

        At the beginning of the Registration Statement and the Final Prospectus, Next Bridge

included a “Cautionary Statement Concerning Forward-Looking Statements.” (App. 004–05

(emphasis removed); App. 133–34 (same).) The documents also described various “risk factors”

for the Company. (See App. 014–31; App. 143–61.) One such risk factor: “Our acreage must be

drilled before lease expiration in order to hold the acreage by production. In the highly competitive

market for acreage, failure to drill sufficient wells in order to hold acreage will result in a

substantial lease renewal cost, or if renewal is not feasible, loss of our lease and prospective drilling

opportunities.” (App. 016; App. 146.) Next Bridge further explained:

        In the event that we fail to meet our drilling obligations in the Orogrande Basin,
        whether because we are unable to obtain additional capital when required or
        otherwise, or if production ceases in the Midland Basin, our leases will expire. If



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       we have to renew such leases on new terms, we could incur significant cost
       increases, and we may not be able to renew such leases on commercially reasonable
       terms or at all. In addition, on certain portions of our acreage, third-party leases
       may become immediately effective if our leases expire. As such, our actual drilling
       activities may materially differ from our current expectations, which could
       adversely affect our business.

(App. 016; App. 146 (emphasis added).)

       C.      Next Bridge’s Subsequent SEC filings

       On March 31, 2023, Next Bridge filed its 2022 Annual Report on Form 10-K. (Ex. D (Next

Bridge Hydrocarbons, Inc., 2022 Annual Report on Form 10-K, filed March 31, 2023) (App. 272–

348).) It identified the carrying value on its balance sheet for the oil and gas assets as of December

31, 2022, as $79,695,928—an increase from the numbers in the Registration Statement,

presumably because Next Bridge had incurred additional costs during the remainder of 2022 to

develop the oil and gas wells. (See App. 331.)

       On July 17, 2024, Next Bridge filed its 2023 Annual Report on Form 10-K. (Ex. E (Next

Bridge Hydrocarbons, Inc., 2023 Annual Report on Form 10-k, filed July 17, 2024) (App. 350–

668).) Among other things, it restated Next Bridge’s consolidated financial statements for the year

ending December 31, 2022. (See App. 352.) The Company explained that in looking at the

financials for the year ended December 31, 2023, it found that “[a] triggering event” had

occurred—namely, “the potential expiration of [an] underlying mineral lease.” (Id.) Because

“there was no assurance that the mineral lease would, in fact, be renewed before December 31,

2024,” Next Bridge decided “to impair 100% of the carrying value of the Company’s oil and

natural gas assets as of December 31, 2022.” (Id.)

       D.      Procedural History

       On March 15, 2024, Plaintiff Todd Targgart filed an initial complaint in the Eastern District

of New York, alleging violations of Sections 11 and 15 of the Securities Act on behalf of persons




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or entities that acquired Next Bridge stock in connection with the Meta spin-off. (See ECF No. 1.)

On August 3, that Court appointed Mr. Targgart, Steven Martinez, and Mohammad Limon as Lead

Plaintiffs. (ECF No. 22.) On August 12, the case was transferred to this Court. (ECF No. 28.)

       Plaintiffs filed the Amended Complaint on September 9, 2024. (ECF No. 41.) Plaintiffs

again bring their action on behalf of a putative class of persons or entities that acquired Next

Bridge’s common stock in connection with Next Bridge’s spin-off from Meta. (Id. ¶ 95.) Plaintiffs

continue to assert violations of Sections 11 and 15 of the Securities Act and also now allege a

violation of Section 12(a)(2) of the Securities Act. (See id. ¶¶ 115–54.)

       Plaintiffs base their claims on three allegedly misleading statements. First, Plaintiffs allege

that the Registration Statements incorrectly state that Next Bridge’s oil and gas properties “were

worth” the figures on Next Bridge’s balance sheets. (AC ¶¶ 6(a), 81.) Second, Plaintiffs allege

that “the Registration Statement misstated . . . NBH and its Audit Committee’s ability to present

accurate financial statements.” (Id. ¶ 6(b).) Third, Plaintiffs allege that the Registration Statement

did not disclose sufficient “[i]nformation required under Item 404 of Regulation S-K concerning

a related-party transaction.” (Id. ¶ 6(c).)

                                              ARGUMENT

       Plaintiffs’ claims fail for several reasons. First, Plaintiffs lack Article III standing to invoke

this Court’s jurisdiction, because they cannot show a cognizable injury under the Securities Act.

Second, Mr. McCabe, Mr. Hawkins, and Ms. Oelkers are not subject to Section 11 liability at all.

Third, Plaintiffs fail to adequately allege any false or misleading statements in the offering

documents. Fourth, Plaintiffs’ Section 15 claims fail for lack of a primary violation and because

Plaintiffs fail to plead facts suggesting that any of the Individual Defendants were control persons.

The complaint should be dismissed in its entirety.




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I.       Plaintiffs lack standing to bring their claims.

         To have Article III standing, Plaintiffs must plead, among other things, that they have

suffered an injury that can be redressed by a favorable judicial decision. See Denning v. Bond

Pharmacy, Inc., 50 F.4th 445, 451–52 (5th Cir. 2022) (affirming dismissal because injury was not

redressable by damages sought). Plaintiffs have not even pleaded facts suggesting an injury here:

The Complaint contains only the bare-bones allegation that “Plaintiff [sic] and the Class have

sustained damages.” (AC ¶ 108.) That is not enough, because “a plaintiff must plead specific

facts, not mere conclusional allegations, to avoid dismissal for failure to state a claim.” Kane

Enter. v. Macgregor (USA) Inc., 322 F.3d 371, 374 (5th Cir. 2003). The same rule applies to

standing allegations. See, e.g., All. for Hippocratic Med. v. Food & Drug Admin., 2023 WL

2913725, at *5 (5th Cir. Apr. 12, 2023) (“Plaintiffs must identify specific injuries that go beyond

‘general averments’ or ‘conclusory allegations’” to establish standing.); Kounitz v. Slaaten, 901 F.

Supp. 650, 654 (S.D.N.Y. 1995) (dismissing claim for lack of standing because plaintiff’s general

allegation that he had been “damaged financially” was insufficient to allege injury in fact).

         In any event, any injury Plaintiffs claim to have suffered is not redressable under the

Securities Act—the only basis for their claims. Section 11(g) provides that “[i]n no case shall the

amount recoverable under this section exceed the price at which the security was offered to the

public.” 15 U.S.C. § 77k(g). The offering price of Next Bridge shares was $0.00, because Next

Bridge shares were given to Meta preferred shareholders at no cost. As the Registration Statement

says: “We are [] not asking you to make any payment or surrender or exchange any of your shares

of Meta Series A Preferred Stock for shares of our Common Stock.” (App. 033 (emphasis added);

see also App. 042 (describing “determination of offering price” by explaining that “[n]o

consideration will be paid for the shares of [NBH] Common Stock distributed in the Spin-Off”




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(emphasis removed).)          Section 11(g)’s damages cap precludes Plaintiffs’ ability to show a

compensable injury giving rise to Article III standing.

         Section 11(e)’s formula for calculating damages similarly precludes Plaintiffs’ ability to

recover damages here. The statute permits Plaintiffs to recover at most “the difference between

the amount paid for the security (not exceeding the price at which the security was offered to the

public) and [] the value thereof as of the time such suit was brought.” 15 U.S.C. § 77k(e).3 The

statute thus requires Plaintiffs to plead “a certain kind of injury”—a diminution in value of the

stock purchased pursuant to the Registration Statement. Metz v. United Cntys. Bancorp., 61 F.

Supp. 2d 364, 377–78 (D.N.J. 1999) (dismissing Section 11 claim for failure to plead diminution

in value). Plaintiffs do not allege that the Next Bridge share value has declined, so their Section

11 claim must be dismissed for this pleading failure as well.

         On a Section 12 claim, Plaintiffs may “recover the consideration paid for such security

with interest thereon, less the amount of any income received thereon, upon the tender of such

security, or for damages if he no longer owns the security.” 15 U.S.C. § 77l. Plaintiffs likewise

have not pleaded that they have tendered or sold their Next Bridge shares. Their Section 12 claim

should also be dismissed. See Metz, 61 F. Supp. 2d 364, 378–79 (dismissing Section 12 claim

where plaintiff had not tendered or sold shares).

         But these are not mere pleading failures. Plaintiffs’ allegations prove that Plaintiffs have

not suffered a redressable injury because they are in the same economic position now as they were

before they received Next Bridge stock. See In re Alamosa Holdings, Inc., 382 F. Supp. 2d 832,

866 (N.D. Tex. 2005) (dismissing Section 11 claim because “the Court finds that Plaintiffs’ own




3
 Plaintiffs may also recover the difference between the amount paid and the amount received in any sale, but Plaintiffs
do not allege that they sold any of their Next Bridge stock.




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pleadings demonstrate that any loss experienced by Plaintiffs could not be attributable to an alleged

misrepresentation or omission from the Registration Statement”). Before the spin-off, Plaintiffs

owned Meta preferred stock. (See AC ¶¶ 12–14.) That “Preferred Stock corresponded to the oil

and gas assets that historically belonged to Torchlight but were acquired by Metamaterial during

the merger.” (Id. ¶ 3.) The Next Bridge stock that Plaintiffs received pursuant to the Registration

Statement and presumably still hold gives them the same thing—i.e., equity in the entity holding

those same oil and gas assets. (See id. ¶¶ 3, 4.) There can therefore be no injury from the

Registration Statement. See In re Safety-Kleen Corp., 2002 WL 32349819, at *1 (D.S.C. Mar. 27,

2002) (holding “no damages can be demonstrated” where transaction involved exchange of

identical securities); see also In re Levi Strauss & Co. Sec. Litig., 527 F. Supp. 2d 965, 977 (N.D.

Cal. 2007) (dismissing Section 11 claims where investors’ decision was whether to retain or

exchange securities “that were identical in all respects”).

       Apparently recognizing this fundamental defect in their claims, Plaintiffs certify their

acquisition of Meta preferred shares to show their standing. (See AC App’x A & B.) But Section

11’s “standing provisions limit putative plaintiffs to the ‘narrow class of persons’ consisting of

‘those who purchase securities that are the direct subject of the prospectus and registration

statement.’” Krim v. pcOrder.com, Inc., 402 F.3d 489, 495 (5th Cir. 2005). As the Supreme Court

recently put it, Section 11 “speaks to a security registered under the particular registration

statement alleged to contain a falsehood or misleading omission.” Slack Techs., LLC v. Pirani,

598 U.S. 759, 767 (2023) (emphasis added). As the cover page to the Registration Statement

shows, the shares being registered in the allegedly misleading Registration Statement were shares

in Next Bridge, not Meta. (See App. 002.) At a minimum, Section 11 “requires a plaintiff to plead

and prove that he purchased shares traceable to the allegedly defective registration statement.”




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Slack, 598 U.S. at 770 (emphasis added). The Meta preferred shares Plaintiffs previously owned

were issued in 2021. (App. 008; App. 137.) Those shares are not possibly traceable to the Next

Bridge Registration Statement that was not filed until 2022.

II.    Mr. McCabe, Mr. Hawkins, and Ms. Oelkers are not subject to Section 11.

       The Section 11 claim against Mr. McCabe, Mr. Hawkins, and Ms. Oelkers fails at the

threshold. They did not sign the Registration Statement, were not directors at the time the

Registration Statement was filed, and were not identified as directors for the future Next Bridge in

the Registration Statement, so they are not within the zone of liability. See 15 U.S.C. § 77k(a)

(listing specific types of individuals who can be held liable under Section 11). Plaintiffs have

improperly named them as a defendants in the Section 11 claim, and it should be dismissed against

them. See, e.g., In re AFC Enter., Inc. Sec. Litig., 348 F. Supp. 2d 1363, 1380 (N.D. Ga. 2004)

(dismissing Section 11 claim against individual defendants not subject to Section 11); XOMA

Corp. Sec. Litig., 1990 WL 357807, at *9 (N.D. Cal. Dec. 27, 1991) (dismissing Section 11 claim

against “improper § 11 defendants” who did not sign the registration statement or were not named

as directors in it); McFarland v. Memorex Corp., 493 F. Supp. 631, 642 (N.D. Cal. 1980) (“It is

undisputed that . . . directors bear potential section 11 liability whether or not they signed the

registration statement. But the same does not hold true of officers. . . . The nonsigning officers

cannot be held liable under section 11.”); In re Reliant Sec. Litig., No. H-02-1810, 2004 WL

7347565, at *19 (S.D. Tex. Jan. 16, 2004) (dismissing Section 11 claim against non-director

because “[n]one of the cases cited by Plaintiffs contains a holding that an officer of a corporation,

who did not sign the registration statement, can be held liable under § 11”).

III.   The Registration Statement was not false or misleading.

       Plaintiffs’ Section 11 claim also fails because the Complaint does not adequately allege

that the Registration Statement “contained an untrue statement of a material fact or omitted to state



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a material fact required to be stated therein or necessary to make the statements therein not

misleading.” In re Plains All Am. Pipeline, L.P. Sec. Litig., 245 F. Supp. 3d 870, 894 (S.D. Tex.

2017), aff’d 777 F. App’x 726 (5th Cir. 2019); 15 U.S.C. § 77k(a). Plaintiffs’ Section 12 claim

fails for the same reason: Plaintiffs have not adequately alleged that Defendants sold Plaintiffs a

security “by means of a prospectus or oral communication, which includes an untrue statement of

a material fact or omits to state a material fact necessary in order to make the statements, in the

light of the circumstances under which they were made, not misleading.” In re Plains, 245 F.

Supp. 3d at 894; 15 U.S.C. § 77l(a)(2).

       A.      The Registration Statement did not misstate the value of the oil and gas
               properties.

       Plaintiffs allege that the Registration Statement was misleading because it incorrectly

represented that the “oil and gas assets were worth” the amounts stated on the balance sheet in the

Registration Statement. (AC ¶ 6(a); ¶ 81.) This allegation fails for several reasons.

               1.     The Registration Statement did not state what the oil and gas
                      properties “were worth.”

       Plaintiffs’ complaint fails at the threshold because the Registration Statement did not, in

fact, purport to represent what the oil and gas properties “were worth.” The Registration Statement

reported the carrying value of the properties, making clear that Next Bridge uses the full-cost

method of accounting. The Registration Statement explained that this accounting method calls for

the assets to be booked at the costs Next Bridge has incurred to develop them. (See supra pp. 4–

5.) Nothing about the Registration Statement suggests that the figures Plaintiffs cite were

statements of “value” or “worth.” To the contrary, both the Registration Statement and the Final

Prospectus explicitly explained that these figures were “the capitalized costs for oil and natural

gas properties of the Company.” (App. 092 (emphasis added); App. 227 (same).) A subsequent




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impairment driven by a then-impending lease expiration does not mean that the figure was not

based on costs, as Next Bridge explained.

       Plaintiffs cannot state a Securities Act claim by reading figures on the balance sheet in

isolation with their own spin. Plaintiffs’ allegations about “value” and “worth” of the assets

“demonstrate no more than Plaintiffs’ misunderstanding of [Next Bridge’s] financial statements.”

Yaroni v. Pintec Tech. Holdings Ltd., 600 F. Supp. 3d 385, 404 (S.D.N.Y. 2022) (dismissing

Section 11 claim based on allegedly false financial statements). Moreover, “an investor reads each

statement within [an SEC filing], whether of fact or of opinion, in light of all its surrounding text,

including hedges, disclaimers, and apparently conflicting information.”           Omnicare, Inc. v.

Laborers Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 190 (2015). Numerous places

in the Registration Statement explain that these figures represent costs carried on the Company’s

books, not an estimate of value. (See, e.g., App. 058–59; App. 089–90; App. 111; App. 192–93;

App. 248.) That dooms Plaintiffs’ claims based on an alleged misrepresentation of “worth.”

               2.      The Registration Statement warned investors that a lease cancellation
                       could affect the value of the oil and gas properties.

       Plaintiffs’ real argument is not that the carrying values reported were inaccurate, but that

the Registration Statement should have also disclosed the potential for a future impairment of those

assets if a lease expired (and thus an impact on the actual value). But the law does not require

such statements—and even so, the Company gave such warnings. “The fact that a financial item

is accounted for differently, or in a later period, does not support an inference that a previously

filed financial statement was fraudulent.” In re Fannie Mae 2008 Sec. Litig., 742 F. Supp. 2d 382,

409 (S.D.N.Y. 2010); see also In re Browning-Ferris Indus. Inc. Sec. Litig., 876 F. Supp. 870, 908

(S.D. Tex. 1995) (“The fact that the defendants revised the Form 10–Q estimate in the Form 8–K

disclosure does not raise an inference of fraud.”). A subsequent write-down of assets does not




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make the values previously attributed to those assets false or misleading. See Woolgar v.

Kingstone Companies, Inc., 477 F. Supp. 3d, 193, 224–25 (S.D.N.Y. 2020) (holding that plaintiffs

must do more than allege that defendants later changed judgment-based numbers); Okla.

Firefighters Pension & Ret. Sys. v. Student Loan Corp., 951 F. Supp. 2d 479, 495–96 (S.D.N.Y.

2013) (rejecting plaintiffs’ claim that reserves were improperly set merely because defendant took

impairment charge at later date).

        And statements of value are not actionable if the risk of their potential fluctuation is

disclosed. See Kapps v. Torch Offshore, 379 F.3d 207, 214–15 (5th Cir. 2004) (holding there was

no material misstatement where company made “cautionary statements” about risk of price

fluctuation); Truk Int’l Fund, 737 F. Supp. 2d at 625 (“Summed up, a reasonable investor would

know from reading the cautionary language in the Offering Documents that an investment . . . was

risky and that part of that risk was in the uncertainty of the proved reserves.”). Next Bridge

explained in its 2023 annual report—filed in 2024—that it noted a triggering event related to the

potential expiration of the underlying mineral leases and, as a result, recorded an impairment

adjustment as of December 31, 2022, and at December 31, 2023. (App. 352.) But Next Bridge

had included meaningful cautionary statements throughout the Registration Statement and Final

Prospectus (including, but not exclusively in, the Risk Factors section) that clearly identified the

risk of potential lease expirations and their effect on Next Bridge’s financial statements.

        Next Bridge warned, for example, that the “failure to drill sufficient wells in order to hold

acreage will result in a substantial lease renewal cost, or if renewal is not feasible, loss of our lease

and prospective drilling opportunities.” (App. 016; App. 146.) And if Next Bridge were forced

to “renew such leases on new terms, [it] could incur significant cost increases, and,” as a

consequence, “may not be able to renew such leases on commercially reasonable terms or at all.”




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(App. 016; App. 146.) Reasonable investors understood that Next Bridge’s operations were

largely dependent on the continued viability of its leases and that the viability of its leases was not

guaranteed. As the Registration Statement disclosed, Next Bridge’s “primary interests include[d]

the oil and natural gas leases for properties of the Orogrande basin.” (App. 044; App. 173.) And

the Final Prospectus explained that “the Orogrande Project leases . . . [were] subject to expiration

in 2022 if we fail to drill five wells as obligated by the end of the 2022 calendar year. Unless we

are able to negotiate an extension on these leases, these leases in the Orogrande Basin are also

subject to expiration in 2023 in the event we fail to drill an additional five wells during the 2023

calendar year.” (App. 191.) Investors were explicitly warned “that currently available resources

may not provide sufficient funds to enable us to meet our financing and drilling obligations for the

remainder of the 2022 fiscal year and for the 2023 fiscal year.” (App. 192.) Because the financial

statements in question were “accompanied by meaningful cautionary language, which would alert

the reasonable investor to consider those statements with healthy skepticism,” they were not

materially misleading. Braun v. Eagle Rock Energy Partners, L.P., 223 F. Supp. 3d 644, 653 (S.D.

Tex. 2016).

       In any event, the impairment was made as of December 31, 2022, while the offering

documents contained balance sheets only through September 30, 2022. Plaintiffs have not alleged

that the triggering event—i.e., the increased risk of potential lease expiration—occurred before the

Registration Statement, including any amendments, or Final Prospectus was filed. Later occurring

events obviously cannot support a claim of misrepresentation. See In re BankAmerica Corp. Sec.

Litig., 78 F. Supp. 2d 976, 992 (E.D. Mo. 1999) (“Defendants cannot be held liable under [Sections

11 and 12] for the omission of material information which was unknown to and not reasonably

discoverable by the defendants.”); Firefighters Pension & Relief Fund of the City of New Orleans




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v. Bulmahn, 53 F. Supp. 3d 882, 897 (E.D. La. 2014) (“To the extent plaintiff argues that [the

issuer]’s failure to disclose its future bankruptcy rendered its projection of increased hydrocarbon

production in 2011 misleading, such attempts to plead fraud by hindsight are impermissible and

devoid of plausibility.” (footnote omitted).) Plaintiffs’ effort to allege misrepresentation by

hindsight should be rejected.

               3.      Any valuation would be an inactionable opinion statement.

       Similarly, if the Court were to consider the balance sheet numbers as statements of “value,”

or “worth,” they would be inactionable opinion statements. See, e.g., In re Gen. Elec. Co. Sec.

Litig., 856 F. Supp. 2d 645, 653 (S.D.N.Y. 2012) (“Statements estimating the fair market value of

assets are opinions, not matters of objective fact.”).      Reasonable investors understand that

assessing oil and natural gas reserves before a well is developed is not fact. See In re Pretium Res.

Inc. Sec. Litig., 256 F. Supp. 3d 45, 177 (S.D.N.Y. 2017) (holding that estimations of mineral

reserves are statements of opinion); Truk Int’l Fund, 737 F. Supp. 2d at 624 (“A reasonable

investor would have recognized the speculative and uncertain nature of the formulation of

estimates of proved reserves . . . .”). To state a claim based on an opinion, Plaintiffs must allege

that (1) the speaker did not actually hold the stated belief, (2) the opinion included embedded facts

that were untrue, or (3) the opinion omitted “material facts about the issuer’s inquiry into or

knowledge concerning [the] statement of opinion” that “conflict with what a reasonable investor

would take from the statement itself.” Omnicare, 575 U.S. at 184, 186, 188–89. Plaintiffs have

not adequately pleaded any of these three options.

       First, Plaintiffs do not allege that management’s opinions about the balance sheet numbers

were insincerely held. As the Registration Statement explains, Next Bridge relied on reserve

reports provided by expert firm PeTech Enterprises, Inc. (App. 079; App. 214.) Plaintiffs allege

nothing to suggest that Next Bridge did not believe PeTech’s reports, or that PeTech did not render



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anything other than its sincerely held and independently reached judgments. To state a Section 11

claim based on an opinion, “[t]he investor must identify particular (and material) facts going to the

basis for the issuer’s opinion—facts about the inquiry the issuer did or did not conduct or the

knowledge it did or did not have—whose omission makes the opinion statement at issue

misleading to a reasonable person reading the statement fairly and in context.” Omnicare, 575

U.S. at 194. Without allegations along those lines, the Court must conclude that Next Bridge

sincerely held and had a reasonable basis for its opinions. See MHC Mut. Conversion Fund, L.P.

v. Sandler O’Neill & Partners, L.P., 761 F.3d 1109, 1118 (10th Cir. 2014) (affirming dismissal of

Section 11 case where issuer offered opinion that was verified by experts).

       Second, Plaintiffs have not alleged any untrue “embedded facts.” Plaintiffs do not allege

that the numbers about which they complain are not based on the correct inputs—e.g., development

costs—or that the math was wrong. Moreover, Next Bridge said throughout the Registration

Statement that its “oil and natural gas reserve estimates are necessarily inexact and involve matters

of subjective engineering judgment.” (App. 023; App. 152.) Next Bridge also stated that its

estimates were “based on various assumptions, including those prescribed by the SEC, and are

inherently imprecise” (App. 049); App. 178) and that its “reserve estimates for wells with limited

or no production history are less reliable than those based on actual production,” (App. 059; App.

193). Next Bridge thus made clear to investors that its estimates were not based on any particular

facts, much less facts that Plaintiffs plead are untrue. See Jacobowitz v. Range Res. Corp., 596 F.

Supp. 3d 659, 676 (N.D. Tex. 2022) (Pittman, J.) (holding opinion statement not materially

misleading when considering “hedges, disclaimers or qualifications”).

       Third, Plaintiffs have not alleged that the offering documents omitted any material facts

contrary to the balance sheets. They just allege that the figures were wrong.




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        B.      The Registration Statement did not materially misrepresent the quality of the
                future Audit Committee.

        Plaintiffs allege that the Registration Statement misled investors by misstating “Next

Bridge and its Audit Committee’s ability to present accurate financial statements.” (AC ¶ 6(b).)

But Plaintiffs do not allege how the statements about the Audit Committee members’ qualifications

are inaccurate. Plaintiffs seem to be basing this allegation on their conclusion that the financial

statements contained errors. (Id. (“Despite having an Audit Committee and independent auditor

tasked with ensuring the accuracy of NBH’s financial statements, the Registration Statement’s

financial statements contained material errors.”).) This inference fails for at least three reasons.

First, the financial statements were not erroneous, as just explained. Second, simply describing

the qualifications of the Audit Committee members is not false or misleading, regardless of

Plaintiffs’ allegations of error. See Police & Fire Ret. Sys. of City of Detroit v. Plains All Am.

Pipeline, L.P., 777 F. App’x 726, 731 (5th Cir. 2019) (holding statement that described “internal

processes and procedures which, although they failed to function correctly” was not false or

misleading).

        Third, the financial statements published in the Registration Statement were completed

before the Audit Committee was formed, so as a matter of logic, errors in those financial statements

cannot possibly say anything about the competence of the Audit Committee that the Registration

Statement described.4 And of course a reasonable investor would not consider Next Bridge’s

future Audit Committee as having any bearing on Next Bridge’s ability to present its past financial

statements. Plaintiffs allege that the description of the future committee “lent credence” to the

accuracy of the Registration Statement’s financial statements (AC ¶ 86), but that does not suggest



4
 Again, the offering documents were filed while Next Bridge was still a wholly owned subsidiary of Meta, which
had its own Audit Committee.




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that the description of the Audit Committee is itself misleading. Nor does it make sense on its

face: Investors were told explicitly that the Audit Committee being described did not yet exist,

i.e., could have had nothing to do with the Registration Statement’s financial statements.

(App. 065.) And the description, no matter how impressive, does not transform the capitalized

costs of assets into material misrepresentations. Statements about the future Audit Committee

could not be material to investors considering the Registration Statement. See In re Plains, 245 F.

Supp. 3d at 890 (holding misstatement not material if reasonable investor would not consider it

important).

        C.      Next Bridge did not have to disclose additional details about the Option
                Agreement.

        Plaintiffs’ final misrepresentation claim is based on Item 404 of SEC Regulation S-K.

Plaintiffs say that Item 404 required Next Bridge to disclose more details about the Option

Agreement. (AC ¶ 94.) Plaintiffs are wrong. Item 404 requires that financial statements filed

with the SEC describe “any transactions, since the beginning of the registrant’s last fiscal year, in

which the registrant was or is to be a participant and the amount involved exceeds $120,000, and

in which any related person had or will have a direct or indirect material interest.” 17 C.F.R.

§ 229.404(a). Item 404 thus did not call for disclosure of the Option Agreement at all, much less

additional details about it.

        By its terms, Item 404 requires Next Bridge to disclose in the Registration Statement only

those related-party transactions that occurred “since the beginning of the registrant’s last fiscal

year.” Id. Next Bridge is on a calendar fiscal year, so it was required to disclose in its 2022

offering documents only those related-party transactions that occurred after January 1, 2021. The

Option Agreement was entered into on August 13, 2020—i.e., months earlier. (App. 095;

App. 206.) It was amended in September 2020, but even if the amendment is considered a new




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transaction, it still occurred before January 1, 2021. (See App. 095; App. 206.) Plaintiffs have not

adequately pleaded this claim without pleading—as they cannot do—that the Option Agreement

was a 2022 transaction. See In re Jiangbo Pharm., Inc. Sec. Litig., 884 F. Supp. 2d 1243, 1259

(S.D. Fla. 2012) (“By failing to state when the transaction occurred, Plaintiffs also fail to

sufficiently allege that Defendants had a duty to disclose the transaction at the time they made the

statements Plaintiffs challenge.”).

       Plaintiffs also fail to plead that Mr. McCabe had an undisclosed interest above Item 404’s

$120,000 threshold. Plaintiffs allege that Mr. McCabe’s interest in the Option Agreement was

“through an intermediary entity named Masterson Hazel Management LLC” and that “Masterson

Hazel Management LLC was jointly owned by [MPC] . . . and another entity named Korban

Resources, LLC.” (AC ¶ 93.) But Plaintiffs fail to allege how revenues in excess of $120,000

flowed through this alleged ownership structure to Mr. McCabe, or that Mr. McCabe in fact

received any revenues at all from the Option Agreement. To the extent that the Hazel Project

yielded revenues, those revenues went to MHP only to repay drilling costs that Next Bridge itself

would otherwise have had to expend, and such revenues would not have resulted in profits for

those who had an ownership interest in MHP. (See AC ¶ 90 (describing MHP’s right to revenue

only until “it has recovered its reasonable costs and expenses for drilling, completing, and

operating the well”).) Plaintiffs fail to explain how MHP recouping some of its costs, with no

profit going to Mr. McCabe, would have been material to a reasonable investor. See In re

Francesca’s Holdings Corp. Sec. Litig., No. 13-CV-6882, 2015 WL 1600464, at *16 (S.D.N.Y.

Mar. 31, 2015) (rejecting Securities Act claim where omitted related-party transaction “could

hardly be considered a material fact significant in relation to investment decisions”); Stephens v.

Uranium Energy Corp., No. H-15-1862, 2016 WL 3855860, at *21 (S.D. Tex. July 15, 2016)




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(concluding that “[t]he alleged omissions from the Item 404 disclosures were not material” because

plaintiff did not show or explain how such disclosures “would have given rise to a substantial

likelihood that the disclosure . . . would have been viewed by the reasonable investor as having

significantly altered the ‘total mix’ of information made available.” (internal quotation marks

omitted)).

       Regardless, Mr. McCabe’s interest in the Option Agreement was disclosed. Plaintiffs

concede that Mr. McCabe’s presence in the transaction was “known” but complain that “it was

understood at that time to be limited to his ownership and/or interest in McCabe Petroleum

Corporation and not [MHP].” (AC ¶ 92.) As Plaintiffs also concede, Mr. McCabe’s interest in

the Option Agreement was indirect—through MPC’s partial ownership of Masterson Hazel

Management LLC, MHP’s general partner. (See AC ¶ 93.) Thus, Mr. McCabe’s “presence in the

transaction” in all respects was through MPC’s partial ownership of MHP. (See id.). And investors

obviously understood that MPC was Mr. McCabe’s company—the Prospectus explicitly said so.

(App. 206.) Nothing more needed to be disclosed under Item 404.

IV.    Plaintiffs’ Section 15 claim fails.

       Because Plaintiffs’ Section 11 and 12 claims fail, their Section 15 claim against the

individual Defendants should also be dismissed. See Southland Sec. Corp. v. INSpire Ins. Sols.,

Inc., 365 F.3d 353, 372 (5th Cir. 2004) (“Control person liability is secondary only and cannot

exist in the absence of a primary violation.”); In re Plains All. Am. Pipeline, L.P. Sec. Litig., 307

F. Supp. 3d 583, 618 (S.D. Tex. 2018) (“To allege control person liability under § 15, the plaintiff

must allege both a primary violation of § 11 or § 12 and the defendant’s control over the primary

violator.”). But even if the Court finds that Plaintiffs have stated a viable primary claim against

Next Bridge, Plaintiffs’ Section 15 claims nevertheless fail.




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         To establish control-person liability under Section 15, Plaintiffs “must at least show that

the defendant had an ability to control the specific transaction or activity upon which the primary

violation is based.” Heck v. Triche, 775 F.3d 265, 283 (5th Cir. 2014) (internal quotation marks

omitted); accord Ahders v. SEI Private Tr. Co., 982 F.3d 312, 317 (5th Cir. 2020) (affirming

dismissal of claim where plaintiff failed to show that defendant “directly or indirectly controlled

[the] primary violations”). This means that Plaintiffs “need[] to allege some facts beyond a

defendant’s position or title that show that the defendant had actual power or control.” In re Enron

Corp. Sec., Deriv. & ERISA Litig., 235 F. Supp. 2d 549, 595 (S.D. Tex. 2002). Plaintiffs have not

done so here.

         It is undisputed that the alleged violation—filing the offering documents—occurred when

Next Bridge was still a subsidiary of Meta, and none of Ms. Pitts, Ms. Whitley, and Mr. Hawkins

had any role at Meta ever and had no role at Next Bridge until after the spin-off occurred. As for

Mr. McCabe, Plaintiffs allege that he is a significant shareholder of Next Bridge, but it was Meta

who held 100% of Next Bridge’s equity before the spin-off. (See App. 011; App. 140.)5 And in

any event, shareholders are not typically responsible for a corporation’s SEC filings, and Plaintiffs

do not plead any facts suggesting that Mr. McCabe was an exception. See, e.g., Dennis v. Gen.

Imaging, Inc., 918 F.2d 496, 509–10 (5th Cir. 1990) (rejecting Section 15 claim against

shareholder defendant whose “only relationship” to offering was that he “owned a minority

position” in issuer).

         While the other individual Defendants played a role at Next Bridge before the spin-off, that

fact alone does not satisfy Plaintiffs’ pleading burden. Plaintiffs must allege some facts beyond a



5
 Plaintiffs allege that he was Next Bridge’s largest shareholder “at all relevant times” (AC ¶ 23), but for purposes of
Section 15 liability the “relevant time” is when the alleged violation occurred—i.e., when Meta owned 100% of Next
Bridge’s stock.




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defendant’s position or title that show he or she had actual power or control over the violations.

See id. (affirming dismissal of Section 15 claim for want of a primary violation and because

defendants were not control persons). Plaintiffs do not make any allegations of control here, but

a mere boilerplate allegation about all defendants generally. (See AC ¶¶ 112–13.) Moreover,

Plaintiffs concede that it was Meta that conducted the spin-off. (Id. ¶¶ 4–5.) The spin-off was

subject to approval by the Meta Board “in its sole and absolute discretion,” and the allegedly

misleading financial statements were “derived from the consolidated financial statements and

accounting records of Meta.” (App. 043; App. 183.) For Section 15 purposes, “[t]he term ‘control’

means the possession, direct or indirect, of the power to direct or cause the direction of the

management and policies of a person, whether through the ownership of voting securities, by

contract, or otherwise.” In re Franklin Bank Corp. Sec. Litig., 782 F. Supp. 2d 364, 379–80 (S.D.

Tex. 2011), aff’d sub nom. Harold Roucher Tr. U/A DTD 9/21/72 v. Nocella, 464 F. App’x 334

(5th Cir. 2012). That means Meta and its executives—not any of the Defendants here—had control

over the offering documents. Plaintiffs’ Section 15 claims should be dismissed.

                                         CONCLUSION

       Defendants believe that oral argument would be helpful to the Court’s consideration of this

motion, and time-permitting with deference to the Court’s busy docket, would respectfully request

an oral hearing on this motion once fully briefed.

       Defendants respectfully request the Court GRANT this motion and DISMISS Plaintiffs’

claims against them with prejudice.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on all
counsel of record on October 23, 2024, through the Court’s CM/ECF system.


                                             /s/ David J. Drez III
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